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 UNITED STATES DISTRICT COURT FOR
 THE EASTERN DISTRICT OF NEW YORK

 IN RE PAYMENT CARD INTERCHANGE             MDL No. 1720
 FEE AND MERCHANT DISCOUNT
 ANTITRUST LITIGATION                       Docket No. 05-md-01720 (MKB-JAM)


 This Document Relates To:                  DECLARATION OF LIZ LAMBERT,
                                            HUNTINGTON NATIONAL BANK
 BARRY’S CUT RATE STORES INC.;
 DDMB, INC. d/b/a EMPORIUM ARCADE
 BAR; DDMB 2, LLC d/b/a EMPORIUM
 LOGAN SQUARE; BOSS DENTAL CARE;
 RUNCENTRAL, LLC; CMP CONSULTING
 SERV., INC.; TOWN KITCHEN, LLC d/b/a
 TOWN KITCHEN & BAR; GENERIC
 DEPOT 3, INC. d/b/a PRESCRIPTION
 DEPOT; and PUREONE, LLC d/b/a SALON
 PURE,

              Plaintiffs,
       v.

 VISA, INC.; MASTERCARD
 INCORPORATED; MASTERCARD
 INTERNATIONAL INCORPORATED;
 BANK OF AMERICA, N.A.; BA
 MERCHANT SERVICES LLC (f/k/a
 DEFENDANT NATIONAL PROCESSING,
 INC.); BANK OF AMERICA
 CORPORATION; BARCLAYS BANK PLC;
 BARCLAYS BANK DELAWARE;
 BARCLAYS FINANCIAL CORP.; CAPITAL
 ONE BANK, (USA), N.A.; CAPITAL ONE
 F.S.B.; CAPITAL ONE FINANCIAL
 CORPORATION; CHASE BANK USA, N.A.;
 CHASE MANHATTAN BANK USA, N.A.;
 CHASE PAYMENTECH SOLUTIONS, LLC;
 JPMORGAN CHASE BANK, N.A.;
 JPMORGAN CHASE & CO.; CITIBANK
 (SOUTH DAKOTA), N.A.; CITIBANK N.A.;
 CITIGROUP, INC.; CITICORP; and WELLS
 FARGO & COMPANY,
              Defendants.
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        I, Liz Lambert, declare and state as follows:

        1.      I am Liz Lambert at The Huntington National Bank (“Huntington”), the escrow

 agent retained in this matter. The following statements are based on my personal knowledge and

 information provided to me by Equitable Relief Class Counsel and other Huntington employees

 working under my supervision and, if called upon to do so, I could and would testify

 competently thereto.

        2.      I am Senior Managing Director of Huntington Bank’s National Settlement Team.

 I began my professional career in fixed income sales at Salomon Brothers Inc. in 1986, after

 graduating with a B.A. in Business Administration and French from the State University of New

 York at Albany. I have 37 years of banking experience with officer positions held at National

 Westminster Bank, Mellon Bank, Comerica Bank/Progress Bank and Citizens Bank. I am also an

 Associate Member of the American Bar and Philadelphia Bar Associations, and a Member of the

 American Constitution Society

        3.      Huntington’s National Settlement Team has over 20 years of experience acting as

 escrow agents on various cases. We have handled more than 5,500 settlements for law firms,

 claims administrators, and regulatory agencies. These cases represent over $75 billion with more

 than 200 million checks, including some of the largest settlements in U.S. history. Our team has

 acted as escrow agent for a significant portion of these cases.

        4.      Huntington Bancshares Incorporated is a $187 billion asset regional bank holding

 company headquartered in Columbus, Ohio. Founded in 1866, The Huntington National Bank

 and its affiliates provide consumers, small and middle-market businesses, corporations,

 municipalities, and other organizations with a comprehensive suite of banking, payments, wealth

 management, and risk management products and services. Huntington operates more than 1,000
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 branches in 11 states, with certain businesses operating in extended geographies. I declare under

 penalty of perjury under the laws of the United States of America that the foregoing is true and

 correct.

        5.      Appendix B to the Class Settlement Agreement of the Rule 23(b)(2) Class

 Plaintiffs and the Defendants contains the Class Settlement Escrow Agreement for this matter.

        6.      Attached to this Declaration is Huntington National Bank’s Brochure.


             Executed on this 25th Day of March, 2024 in Philadelphia, Pennsylvania.




                                                     Liz Lambert
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 settlement
 services
                                                             Case 1:05-md-01720-MKB-JAM Document 9179-4 Filed 03/26/24 Page 5 of 8 PageID #:
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Connecting Our Customers to Streamlined Settlement Services                                                     Experience
                                                                                                                Matters
Our National Settlement team has handled more than 5,500 settlements for law firms, claims administrators
and regulatory agencies. These cases represent over $75 billion with more than 200 million checks – including
some of the largest settlements in U.S. history.




5,500+ 200m+ 75b+                                                               $
                                                                                                                The Huntington
      Settlements                                Checks                              Disbursed
                                                                                                                National Settlement team has
                                                                                                                spent nearly 20 years working
Including these Settlements
                                                                                                                within the class action industry, building
$
  7.25b                               $
                                         4.0b                               $
                                                                               2.9b                             an extensive network of contacts with law
Payment Card Interchange Fee
Settlement Fund
                                      Madoff Victim Fund                    Petrobras Securities
                                                                            Litigation                          firms, government regulators, claims
                                                                                                                administrators, and other stakeholders.
$
  2.4b
SEC v. Bank of America
                                      $
                                         2.3b
                                      FX Benchmark Rates
                                                                            $
                                                                               1.5b
                                                                            National Mortgage
                                                                                                                We use this expertise to simplify the
Securities Settlement                 Antitrust Settlemen                   Settlement
                                                                                                                banking process for you, providing
                                                                                                                seamless service through the life
$
  926m
Stryker Modular Hip Settlement
                                      $
                                         735m
                                      U.S. Dept. of Justice Adelphia
                                                                            $
                                                                               525m
                                                                            Lehman Brothers Securities
                                                                                                                of a case. By putting the business of
                                      Victim Remission                      Settlement Fund
                                                                                                                settlement fund banking in the hands of
$
  200m                                $
                                         153m
                                                                            Settlement Fund
                                                                                                                our specialists, you can focus
SEC v. JPMorgan Chase Settlement      HealthSouth Securities
                                                                                                                on the case at hand.
                                                        Case 1:05-md-01720-MKB-JAM Document 9179-4 Filed 03/26/24 Page 6 of 8 PageID #:
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Disbursement Services                                  Settlement Phases
business online                                        At Huntington we will work with you from the
                                                       first deposit to the last disbursement, providing
View the account balance and transaction history,
                                                       customized solutions for both the Escrow and
search for transactions, view check images,
                                                       Distribution phases:
place stop payments, initiate wire transfers, set
up reports, and more through the same easy-to-
navigate platform.
                                                       escrow phase
                                                       Investment options backed by the full faith
positive pay                                            and credit of the U.S. Government
Huntington Positive Pay automates daily
monitoring for the settlement fund. The claims         Broad network of law firms, regulators
administrator will transmit the dollar amount, date,   and claims administrators
payee and other pertinent issue information for
                                                       Proven track record with a $9 billion
each claimant check.
                                                       escrow portfolio
ach positive pay                                       Seamless integration from escrow
With ACH Blocks, you can stop any ACH debit to         through distribution
your account. This can prevent any unauthorized
electronic transactions from occurring on your
account.
                                                       distribution phase

                                                       Fraud protection services


Investment Options                                     Master agreements to simplify the process

                                                       Advance Reporting Tools
Huntington can provide a variety of investment
options1 for the settlement fund escrow account:       Extensive experience with over 5,500 cases
FDIC Pass-Through Insured Accounts
                                                       Digital Payment Services
IntraFi Cash Service (ICS)
                    sm    2



U.S. Treasury Money Market Mutual Fund

Government Obligations Money Market Mutual Fund

Treasury Bills

U.S. Government Securities
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                                             Commitment to the Industry
                                             We support numerous legal and trade organizations in the
                                             industry, often in leadership positions. We helped organize three   get connected
                                             national conferences to share best practices among law firms,
                                             claims administrators, custodians and regulators. Groups we         Reach out to our Huntington
                                                                                                                 National Settlement team
                                              support include:
                                                                                                                 about your next settlement case.


                                             American Antitrust Institute (AAI)

                                             American Association for Justice (AAJ)
                                                                                                                 Rose Clark
                                             American Constitution Society (ACS)                                 (215) 430-5289
                                                                                                                 Rose.Clark@huntington.com
                                             Committee to Support the Antitrust Laws (COSAL)                     Philadelphia

                                             Institute for Law and Economic Policy (ILEP)                        Robyn Griffin
                                                                                                                 (212) 581-5051
                                             National Association of Shareholder
                                                                                                                 Robyn.Griffin@huntington.com
                                             & Consumer Attorneys (NASCAT)
                                                                                                                 New York

                                             Public Interest Law Center
                                                                                                                 Liz Lambert
                                             Public Justice Foundation                                           (215) 568-2382
                                                                                                                 Liz.Lambert@huntington.com
                                             Women Antitrust Plaintiffs’ Attorneys (WAPA)                        Philadelphia


                                                                                                                 Liz McNally
                                                                                                                 (484) 913-2206
                                                                                                                 Liz.McNally@huntington.com
                                                    Huntington National                    The Huntington        Philadelphia
                                                       Settlements                          National Bank
                                                     Actively Serving                   Full-service Footprint   Chris Ritchie
                                                                                                                 (215) 568-2328




                                                      50                                    11
                                                                                                                 Chris.Ritchie@huntington.com
                                                                                                                 Philadelphia


                                                                                                                 Melissa Villain

                                                       states                               states               (212) 581-5053
                                                                                                                 Melissa.Villain@huntington.com
                                                                                                                 New York
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 Huntington Bancshares Incorporated is a regional bank holding company
 headquartered in Columbus, Ohio, with $187 billion of assets and a network of more
 than 1000 full-service branches. Founded in 1866, The Huntington National Bank and
 its affiliates provide consumer, small business, commercial, treasury management,
 wealth management, brokerage, trust, and insurance services. Huntington also provides
 auto dealer, equipment finance, national settlement and capital market services that
 extend beyond its core states.


 1S
   ecurities products and services are offered by licensed securities representatives
  of Huntington Securities, Inc., registered broker dealer and member FINRA/SIPC.
  Trust and certain investment management products and services are provided by
  The Huntington National Bank, a national bank with fiduciary powers. Huntington
  Securities, Inc. and The Huntington National Bank are wholly owned subsidiaries of
  Huntington Bancshares Incorporated.


 2D
   eposit placement through CDARS or ICS is subject to the terms, conditions, and
  disclosures in applicable agreements. Although deposits are placed in increments
  that do not exceed the FDIC standard maximum deposit insurance amount (“SMDIA”)
  at any one destination bank, a depositor’s balances at the institution that places
  deposits may exceed the SMDIA (e.g., before settlement for deposits or after
  settlement for withdrawals) or be uninsured (if the placing institution is not an
  insured bank). The depositor must make any necessary arrangements to protect such
  balances consistent with applicable law and must determine whether placement
  through CDARS or ICS satisfies any restrictions on its deposits. A list identifying
  IntraFi network banks appears at https://www.intrafi.com/ network-banks. The
  depositor may exclude banks from eligibility to receive its funds. IntraFi and ICS
  are registered service marks, and IntraFi Cash Service is a service mark, of IntraFi
  Network LLC.


   When placing your deposits using ICS or CDARS, The Huntington National Bank
   acts as your agent and not as your investment advisor. Your funds placed by The
   Huntington National Bank using ICS or CDARS are placed into deposit accounts at
   other IntraFi network banks and are the deposit obligation of those banks.


 Investment, Insurance and Non-Deposit Trust products are:
 NOT A DEPOSIT • NOT FDIC INSURED • NOT GUARANTEED BY THE BANK
 • NOT INSURED BY ANY FEDERAL GOVERNMENT AGENCY • MAY LOSE VALUE


       The Huntington National Bank is an Equal Housing Lender and Member FDIC.
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